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                                                   FEDERAL BUREAU OF INVESTIGATION



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                   On 08/21/2003, Ali Mehdi Al-Timimi, born on            i in
         Washington, D.C., Social Security Account Number               was
         interviewed at the United States Attorney's Office (USAO) for the
         Eastern District of Virginia (EDVA) in Alexandria, Virginia
         Present during the interview were Al-Timimi's attorneys Martin
         McMahon and Chris Smith. In addition to the interviewing agents
         also present from the government were Assistant United States
         Attorneys Grodon Kromberg and David Laufman, Department of Justice
         Trial Attorney John Gibbs, Chief of the EDVA Criminal Division
         Justin Williams, and Counsel to the U.S. Attorney Brian Miller
         After being advised of the identities of the interviewing agents
         and the nature of the interview, Timimi provided the following
         information:


                            Al-Timimi (hereinafter Timimi) advised that he is
         convinced that the government is after the wrong man.                                                         Timimi
         claims to have done more than any other English speaking Muslim
         lecturer to speak against terrorism. Timimi cited his 1993 lecture
         at the Purdue University as an example of his stance on terrorism
         Timimi s speech at Purdue has been widely disseminated.                                                           Timimi
         feels that it was as a result of this speech at Purdue, that agents
         from the Federal Bureau of Investigation (FBI) and the United
         States Secret Service (USSS) pitched him to become their informant
         in 1994.           Timimi turned down the recruitment pitch because he
         associated with "non-violent circles" and thus would not be in a
         position to provide useful information.

                           Timimi advised that he is a popular speaker on Islamic
         topics.          Copies of Timimi's tapes have been distributed and sold
         all over the world.                       Timimi advised that during his lectures, he
         has consistently tried to convince his listeners that participation
         in jihad is not the appropriate course of action. Timimi cited an
         example of when he was in Singapore in 1999 and he was introduced
         telephomcally to an individual in Indonesia (Timimi could not
         remember his name) who wanted to participate in jihad.                                                           Over the
         course of three days, Timimi spoke to this individual from
         Indonesia and tried to talk him out of his plans for jihad                                                            Timimi
         later came to learn that due to his conversations with this



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